
•Swing, J.
Plaintiff brought his action in the court of common pleas, ¡alleging in substance that he was the owner of certain real estate in Bond Hill, fronting 100 feet on what is known as the Paddock road; that he had improved said premises by building a dwelling-house, barn and other valuable improvements; that said road had an established grade, and that said improvements had been made with reference to said grade.
That said defendants, acting under an act of the Legislature -of Ohio authorizing tbe improvement of said road, bad without any notice to him, and without having paid him for the •same, changed the grade of said road, by which change the grade was raised from five to seven feet in front of his said premises, whereby plaintiff’s access to said road was greatly damaged, ■the amount of damage claimed being $1,000.
The Commissioners filed a general demurrer to the petition,, and the court below sustained the same; and this action of the •court is the ground of error relied on here.
Has the plaintiff stated a cause of action ?
In the first place, has his property been taken, for which, ■under the constitution of the state, he is entitled to full compensation in money?
*451What right has he in the highway, and what right has he in the access to his property from the highway?
It seems to us that these questions have been very clearly ■answered by our Supreme Court, commencing with the case •of Crawford v. Delaware, 7 Ohio St. 459; Street Ry. Co. v. Cumminsville, 14 Ohio St. 523, and Jackson v. Jackson, 16 Ohio St. 163, and other oases. In the last case, the court, at page 168, after referring to the Crawford and Cimminsville •cases, and what they had decided, says: •
“ The private-rights of the owner of lands in the highways, •upon principle, are the same as those of the owner of lots in town to the adjacent streets. * * * Such owner has a private •right of access to and from the street or highway, and when he has made improvements on his land with direct reference to the adjoining highway as then established, and with reasonable reference to its prospective improvement and enjoyment by the public, he has a private right of way or passage to and from the highway as it then exists,'and any substantial change in the highway to the injury of such passage or way is ■an invasion of his private property.”
It would seem, after reading the decision of the court in this ease, that it would be unnecessary to consider this branch of the case any further, for it is clear that, if the allegation of the plaintiff.’s petition be true, he has been deprived of his property for the public use and without compensation, and it results that he must have a cause of action against somebody.
Is it against the County Commisssioners? We think it is.
The case of Badgely v. The Commissioners of Hamilton County, 1 Disney, 316, is directly in point. And while it is not an authority that we are compelled to follow, we can see no escape from the reasoning and conclusions of the court. The court says, at page 320: “The property of plaintiff has been taken and appropriated to the use of the county by its properly authorized agents, and for a lawful purpose. It has been thus taken without the plaintiff’s consent and without being paid for. The law says it shall be paid for, and has provided a remedy, but the special remedy thus provided has *452failed the plaintiff' without fault on his part. He is therefore-remitted of necessity to his action against the county, as at common law, for the damages he has sustained.”
Miles Johnston, for plaintiff in error.
W. A. Davidson, County Solicitor, contra.
The theory of counsel for the County Commissioners, that plaintiff’s cause of action was founded on the negligence of the Commissioners, is not correct, and the authorities relied' on do not apply to the case at bar.
The judgment of the court below in sustaining the demurrer of the defendants was erroneous, and the same will therefore be reversed, and cause remanded for further proceedings.
(Affirmed by Supreme Court without report, May 4, 1892.)
Goodwin, Goodwin &amp; Hull, and Boynton, Hale &amp; Horr, for plaintiffs.
John P. Stein, and Golver &amp; King, for defendants.
